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                    IN    THE    DISTRICT      COURT    OF    THE    NINETEENTH


               JUDICIAL          DISTRICT      FOR    THE    STATE    OF MONTANA

                          IN AND      FOR THE    COUNTY       OF    LINCOLN

       CAUSE    NO DV97140

       WILMA             SHEARER      AND    RALPH
       SHEARER           HUSBAND      AND WIRE

                          PLAINTIFFS

               VS


       WR   GRACE           COCONN
       CONNECTICUT  CORPORATION
       AND JOHN DOES    THROUGH                 IV
 10
                          DEFENDANTS
 II


 12


 13                                   DEPOSITION
 14                                              OF


                                     WILMA    REBECCA       SHEARER

 16                              ON    BEHALF OF       DEFENDANTS


 17


 18


 19
                    TAKEN       AT   THE LINCOLN     COUNTY COURTHOUSE
20                                   512    CALIFORNIA  AVENUE
                                           LIBBY MONTANA
21                              WEDNESDAY       FEBRUARY             1998
                                              945     AM
22


23


24
          REPORTED BY JOLENE ASA RPR ARID NOTARY PUBLIC
25          FOR THE STATE OF MONTANA FLATHEAD  COUNTY


        HEDNAN        AGA         GILMAN      REPORTING            75257517523334
                      PO         BOX 394         KALISPELL           MONTANA
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                        WHATS         HER    NAME

                        OPAL     MONGON

                        WHEN     DID    SHE       DIE

                         86      87
                        HOW     OLD    WAS     YOUR       FATHER     WHEN      HE    PASSED


       AWAY

                        59

                        HOW     OLD    WAS     YOUR MOTHER

                        74OR76

 10                     DID     YOUR    MOTHER        EVER       WORK     OUTSIDE         THE


 11    HOME

 12                     NOT     WHEN    WE     WERE       GROWING       UP         SHE DID       WORK


 13    AFTER   MY DAD          PASSED       AWAY          SHE    WORKED       AS         WAITRESS


 14    AND       DISHWASHER


 15                     YOUR     PARENTS          BROUGHT        YOU AND       YOUR OLDER

16     BROTHERS     AND        SISTER       OUT     TO LIBBY        IN ABOUT         1945

17                      44
18                      WHAT     DID    THEY        DO FOR          LIVING

19                      WHAT     DID    THEY        DO
20                      YEAH

21                      MY DAD        WORKED        FOR    AWHILE       AT    THE    BOX


22     FACTORY     AT    THE     MILL          HE    DIDNT        WORK       THERE       VERY

23     LONG         ONLY        KNOW    THIS        JUST    FROM     HEARING         THEM       TALK


24     WHEN      WAS     GROWING        UP          ZND    THEN     HE WENT         TO    WORK    FOR


25     ZONOLITE



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                           WHAT       DID     HE    DO AT       THE       BOX    FACTORY

                                DONT KNOW

                           WHAT       DID     HE    DO AT       ZONOLITE


                           THAT          KNOW       OF          KNOW       HE    DID    SOME WELDING


       AND WAS             MECHANIC              BUT          DONT        KNOW

                           DID     HE    SMOKE

                           HE     SMOKED         CIGARETTES           FOR       AWHILE        AND    THEN


       HE     WENT    TO    CIGARS            SMOKED            FEW CIGARS

                           AS     LONG      AS            CAN REMEMBER             THE    IMAGE          OF
                                                   YOU

10     YOUR     FATHER           DID     YOU KNOW             HIM    TO    SMOKE

LA                         YES BUT            NOT       VERY    MUCH              REMEMBER          HIM


12     SMOKING         BUT       HE     NEVER       SMOKED VERY MUCH                     LIKE       AT


13     NIGHT     HE    MIGHT          HAVE          CIGAR

14                         DO YOU        REMEMBER             HIM    COMING      HOME WHEN           YOU

15     WERE          CHILD

16                         YES


17                         OKAY          AND       THERES           BEEN    SOME       REFERENCE          TO


18     THAT     IN    THE       LEGAL PAPERS              THAT       WERE       FILED    FOR    YOU ON

19     THIS     CASE            CAN     YOU      TELL     ME ABOUT          YOUR       RECOLLECTIONS


20    OF THAT

21                         MY    FATHER

22                         YEAH

23                              REMEMBER           US    KIDS       SLAPPING       HIS    CLOTHES


24     AND     LEAVING          HANDPRINTS              ON HIM       FROM THE          DUST

25                         HOW    OLD       WERE        YOU    THEN


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                          PROBABLY             ABOUT     FIVE OR SIX             BECAUSE       WE USED


       TO     CLJIPB     ALL     OVER      OUR     DAD

                          AND WHO          IS    WE
                                 SISTERS         AND             USUALLY          MOST OF       THE


       TIME       IT    WAS    MY YOUNGER              SISTER       AND

                          YOU AND          DONNA

                          YEAH

                          WHERE        WAS      BETTY     AT     THAT      TIME

                          WELL         SHE      WAS     OLDER              DONT           SHE       JUST

10     DIDNT           CLIMB    AROUND          ON DAD        LIKE    WE    DID

11                        SO    IT     WAS MOSTLY             YOU    AND DONNA            IS    THAT


12     WHAT       YOURE        SAYING

13                        YEAH            WE    WERE     DADS GIRLS

14                        HOW       OLD    WOULD        YOU    HAVE       BEEN    ABOUT    THAT


15     TIME

16                        JUST                  DONT      KNOW              WAS    JUST    YOUNG

17          CAN    REMEMBER          HIM       BACK     BEFORE            EVER    WENT    TO

18     SCHOOL                 CAN    REMEMBER           HIM    GIVING ME            BATH       IN    THE


19     SINK       AND   DONNA             BATH     IN    THE     SINK        WE    NEVER             WE


20     HAD    RUNNING          WATER       IN    THE     KITCHEN            HED     SET    USUP           IN

21     THE     SINK

22                       THATS            OUT    HERE     IN LIBBY


23                       UHHUH

24                        IS    THAT             YES

25                       YES


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                       SO    YOUD       HAVE BEEN            MAYBE     FIVE       YEARS      OLD

                       YEAH           FOUR       FIVE1        SIX

                       DID     YOU     START      SCHOOL        ABOUT       AGE      AIX

                       YEAH

                       SO YOU HAVE                MEMORY        OF    YOU AND         DONNA


       SLAPPING       YOUR     DAD    WHEN       HED     COME HOME              FROM WORK         AND


       LEAVING       YOUR    HANDPRINTA           ON    HIS     DUSTY       CLOTHING              IS


       THAT    WHAT    YOURE         SAYING

                       YES

10                     ND ITS           YOUR UNDERSTANDING                      AT    LEAST

11     THAT    HE WAS       WORKING        AT    THE    ZONOLITE           MINE      AT    THAT

12     POINT    IN    TIME

13                     YES      HE    WAS

14                     BUT     YOU HAVE          NO PERSONAL           KNOWLEDGE            OR


15     INFORMATION          ABOUT     WHAT       HE    WAS    DOING        AT   ZONOLITE          AT


16     THAT    TIME

17                          DONT                 WAS    JUST          LITTLE         KID

LB                     IND     THERE       ARE    NO RECORDS           AND      NO WAY       TO


19     EVEN    BEGIN    TO     TRY    AND PIECE TOGETHER                    WHAT      HE    WOULD

20    HAVE     BEEN    DOING     AT    THAT       TIME

23                     UNLESS        YOU    CAN       FIND    SOMEBODY          THAT       WORKED


22    WITH     HIM

23                     YOU    HAVENT            FOUND    ANYONE            HAVE      YOU

24                     MY HUSBAND           WORKED       WITH        HIM    FOR      AWHILE

25                     IN    1948       49

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       WOULD      YOU

                         NO            WAS    TOO     YOUNG

                         SURE          HOW    MANY YEARS           DID      THIS    PATTERN

       CONTINUE        THAT     YOU     CAN    RECALL WHERE              YOUR      FATHER     WOULD


       COME HOME DUSTY

                         ALL    THE     TIME       UNTIL    HE PASSED            AWAY

                         DIDHEWORK
                         HE    WAS     ALWAYS        COMING      HOME DUSTY

                         DID    HE     WORK    AT     THE   MINE       UNTIL       1961

10                       YES

11                       AND    HE     WAS         MECHANIC        THROUGHOUT         THAJ


12     WHOLE      TIME        PRETTY        MUCH

13                      AND          WELDER          AND      DONT          KNOW    WHAT    ELSE


14     HE    DONE

15                       SO YOUR        HUSBAND            BUD     WAS      HE     MECHANIC


16     AND        WELDER       TOO

17                      NO

18                      WHAT        AREA     DID     YOUR   HUSBANDWORK              IN       ILL

19     HAVE    TO ASK         HIM

20                            CAN    TELL     YOU THAT        HS      BLASTED         HE WORKED


21     WITH    DYNAMITE                 KNOW       BECAUSE       HE    USED      TO DREAM

22     ABOUT      IT

23                      WHAT        IM TRYING          TO   GETA         LITTLE      SENSE     OF


24     IS         IM OF THE           UNDERSTANDING              THAT       CERTAIN     PARTS       OF


25     THE    MINE      DEPENDING            WHERE     YOU ARE         AT    ON THE



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                           NEAR       YOUR       PARENTS

                           NO

                           DID       YOU HAVE           MUCH       DAILY CONTACT              WITH       YOUR

        PARENTS          AFTER       YOU AND           BUD    GOT    MARRIED

                                WENT       TO    MY PARENTS                EVERY       DAY              WALKED


        TOMY        PARENTS           EVERY        CLAY


                           JUST       TO     SEE       THEM

                           YEAH                 WAS     STILL            KID

                           OKAY            2NDBUD            WAS    WORKING        UP    IN       THE


 10     LOGGING

 11            A           HE     WORKED         FOR            NEILS       LUMBER       COMPANY

 12                        OKAY            IS    THERE        ANYTHING           ELSE    YOU CAN          TELL


 13    ME THAT        YOU       RECALL ABOUT                 GROWING        UP    AT    YOUR PARENTS

 14    HOME AS        FAR       AS    BEING        AROUND          YOUR FATHER           AND       ANYTHING

 15    ABOU      HIS WORK             AND       WHAT     HE    BROUGHT           HOME    FROM WORK

 16                        HE USED          TO     BRING       US    HOME        ALL    KINDS       OF

 17    STUFF     TO      PLAY        WITH

 18                        BEFORE          YOU     WERE       MARRIED

 19                        YES         HE BROUGHT              US          HE     BROUGHT          US    HOME


 20    ZONOLITE          TO     PLAY       WITH

 21                        WHAT       DO YOU REMEMBER                    ABOUT     THAT

 22                             RERNETHBER         POPPING          IT    ON     THE    WOOD       STOVE

23          REMEMBER          PLAYING           WITH     IT    IN    THE       DRIVEWAY             WE    USED


24     TO    CALL     IT      OUR GOLD                WHEN     SUN       WOULD     HIT       IT    JUST

25     RIGHT        IT     SPARKLED             LIKE    GOLD             WE USED        TO    CALL       IT




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       GOLD         WE    HAD     IT    IN     THE    DRIVEWAY

                          WHO     II    WE
                          MY DAD        HAD     IT    IN    OUR DRIVEWAY


                               MEAN      WHO     IS    WE         THAT       USED   TO    PLAY    WITH


       IT
                          ALL     OF    US     KIDS    USED       TO    PLAY     WITH     IT

                          NYTHING            ELSE

                          WE    HAD     IT     IN THE       GARDEN

                          THIS     GOLDCOLORED                  MATERIAL

 10                       UHHUH              ZONOLITE             DADBROUGHT             IT HOME       IN


 11    BAGS     PUTIT           AROUND

 12                       MIYTHING           ELSE     THAT       YOU REMEMBER

 13                       NO            DONT         REMEMBER          NOTHING      ELSE

 14                       OKAY          DID     YOU    USE       IT    FOR    ANY   INSULATION


 15    OR ANYTHING             ELSE     IN     THE    HOUSE       ANYWHERE

16                        IT    WAS     IN     OUR CEILING               OUR ROOF               DONT

17     KNOW    IF    IT    WAS     IN    THE     WALLS           BUT         KNOW   IT    WAS    IN


18     THE    CEILING

19                        HOW     DID    YOU     KNOW       THAT

20                        BECAUSE        MY HUSBAND              AND MY DAD         PUT    IT    IN


21     THE    CEILING

22                        AFTER        YOU WERE        MARRIED

23                        NO       THEY       DID     IT   BEFORE             WAS   MARRIED       IN


24


25                        HOW     DID    YOU GET           TO    KNOW    YOUR HUSBAND



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       GOLD        AND    WED        BURY    IT    IN       JARS          THERES         PROBABLY

       STILL       JARS    OF    IT       BURIED       AROUND       THAT        PLACE

                          ANYTHING          ELSE       THAT    YOU        CAN    REMEMBER        ABOUT


       THAT    GROWING          UP
                               DON         KNOW    WHAT

                          DID    YOU HAVE          ANYTHING          TO     DO WITH           CLEANING


       YOUR    FATHERS           CLOTHES          OR ANYTHING

                          WE    WAS       ALWAYS       AROUND       WHEN        MORN    DONE    THE


       LAUNDRY           BUT         WAS    JUST            LITTLE        KID            REMENIBER


10     PLAYING       IN    THE       DIRTY    CLOTHES               WHEN        SHED         SPREAD

11     THEM    OUT       ON THE       FLOOR       TO    LAUNDER           THEM         SHE    USED    TO


12     YELL    AT    US        AND    SHE    HAD       AN    OLD    WRINGER            WASH    MACHINE

13     WHICH       SHE    USED       IT    RIGHT       IN THE       KITCHEN              UNTIL         GOT


14     OLDER             DIDNT        HELP    HER            WHEN    WE GOT            OLDER     THEN

15     WE   USED     TO HELP          HER         AS         LITTLE        KID         YOU    DIDNT

16     WANT    TO    BE          SHE       DIDNT        ALLOW       US     AROUND        THE    WRINGER

37     WASHING       MACHINE

18             0         SURE               UNDERSTAND             THAT     YOU        CLAIM    AND


19    BE1IEVE        YOU       HAVE       ASBESTOS          LUNG    DISEASE              IS    THAT


20     ACCURATE

21                        YES

22                                   MR SULLIVN                    SPECIFICALLY                ITS

23     ASBESTOSIS


24     BY   MR      HOISTAD

25                             DISEASE       RELATED          TO    EXPOSURE            TO ASBESTOS



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                         AND     WERE       YOU     SMOKING          ABOUT     THE       SAME

                         NO

                         WHAT     WERE        YOU SMOKING

                              SMOKED        LESS     THAN            PACK          DAY

                         THREEFOURTHS

                         YEAH          OR     LESS

                         AND     THAT       WOULD        VARY       FROM    DAY     TO   DAY

        SUPPOSE         DEPENDING           ON WHAT           YOU    WERE     DOING

                              WORKED          AND         COULDNT            SMOKE

 10                      WE    HAVE           SUMMARY          OF    WHERE     YOU       WORKED        BUT

 11    BEFORE      WE    GET     INTO       THOSE        PLACES AND           TIMES        ID LIKE
 12    TO   KNOW    ABOUT        YOUR       HUSBANDS            WORK          LITTLE       BIT

 13    THERE     WAS          TIME     WHEN       HE WORKED           AT     THE   GRACE      MINE

 14    AS       UNDERSTAND            IT      OR MAYBE          IT    WAS     ZONOLITE          THEN

 15    IM NOT       SURE

 16                      YES

 17                      WHICH        WAS     IT         DO YOU RECALL

 18                      ZONOLITE


 19                      AND     HE    WAS     ABLASTER               YOU     TOLD       ME

 20    THINK

 21                      YES

 22                      IS    THAT     WHAT        HE    DID       HIS    WHOLE     TIME       THAT    HE


23     WORKED      THERE

24                       NO

25                       WHERE        ELSE     DID       HE    WORK


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                        HE WORKED             ALL    OVER       THAT    MINE             HE    WORKED

       ON THE        DUMP        HECIROVE              TRUCK           HE WORKED              IN THE


       BLASTING             HE   WORKED        IN    THE       CLEANING

                        AND      THAT     IAS       FOR    ABOUT       THREE       YEARS

                        YEAH

                        TWO      YEARS          1959       UNTIL       1961

                        YEAH

                        NOW       ITS        MY UNDERSTANDING                 THAT        YOU     CLAIM

       THAT    HE    WOULD       BRING       HOME      ASBESTOS         FIBERS           ON HIS

10     CLOTHING       THAT       YOU WERE           EXPOSED       TO         IS    THAT       WHAT

11     YOURE         CLAIMING

12                      YES

13                     AND       CAN YOU TELL              ME WHAT       YOU REMEMBER

14     ABOUT    THAT

15                      HIM      COMING       HOME        DUSTY

16                     YEAH

17                     YEAH          HED COME HOME                  REALLY         WHITE         AND

18     HIS    CLOTHES       WOULD       BE    FULL        OF   IT

19                     AND       WOULD       YOUR     CHILDREN          CLIMB       ON HIM           LIKE

20     YOU DID       WITH     YOUR       FATHER

21                     IF     THEY      GOT    ME OFF HIS              LAP    FIRST             YES

22     OUR CHILDREN           WERE      CLIMBING           ON HIM       TOO

23                     ND WAS           THERE       ANYTHING           ELSE       THAT    YOU        CAN

24     REMEMBER       ABOUT       BUD    COMING        HOME       FROM THE          MINE        AS    FAR

25     AS    BEING    DUSTY       OR WHATEVER



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                          JUST DUST              LOTS    OF       DUST        OF    COURSE           WE

       WAS          BACK      IN    THEM        DAYS    THEY       WORE    CUFFS          SO    HE    WAS


        REALLY      FULL      OF    IT     CUFFS        FUL        OF    IT

                         NOW        AS    YOU     SIT    HERE        TODAY         YOU    WOULDNT

       HAVE    ANY       IDEA      WHAT    WAS     IN    THAT       DUST        WOULD      YOU

                         NO

                         OKAY              MEAN         YOU WOULDNT                KNOW    IF    THERE


       WAS    ASBESTOS          IN IT      OR NOT            WOULD       YOU

                         NO              DIDNT         KNOW

 10                      OTHER       THAN       YOURSELF           DO YOU KNOW            OF    ANYBODY

 11    IN    YOUR    FAMILY         WHO    HAS     EVER       HAD ASBESTOSIS

 12                      NO

 13                      BUD       DOESNT         HAVE       IT    TO    YOUR      KNOWLEDGE

 14                      TO MY KNOWLEDGE                     NO

 15                      AND       YOUR    FATHER        DIED       OF        HEART       ATTACK

 16    THINK       YOU   SAID

 17                      ASFARASIKNOW

 18                      OTHER       THAN       THE     TWO       YEARS    THAT      BUD       WORKED

 19    AT    THE    MINE        WHERE      ELSE        DID    HE    WORK

 20                      HE WAS            PAINTER                 HOUSE      PAINTER

 21                      SO     THATS       MAYBE        WHERE          CLINTON      GETS       SOME       OF


 22    HIS    TALENT

23                       MAYBE

24                       HOW       LONG    WAS     BUD       IN    THE    PAINTING         BUSINESS

25                       HE     STARTED         WORKING           FOR    HIS DAD         WHEN    HE       WAS



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                           YOU    KNOW       IM FREEZING                      DONT       KNOW      BUT


        IM REALLY COLD
                                   MR       SULLIVAN          DO    YOU WANT          TO    TAKE


        MOMENT       AND    JUST      PUT    YOUR    JACKET        ON

                                   THE      WITNESS         ILL         PUT    MYJACKET           ON

        BY    MR     HOISTAD

                           WERE       GETTING       NEARLY     DONE            DO YOU       WANT       TO


        TAKE     ANOTHER         BREAK      FOR      MINUTE

                           IF    YOURE       ALMOST       DONE      LETS        FINISH

 10                        IM NOTI       ALMOST       BUT     ITS        NOT    GOING       TO    BE


        TOO MUCH         LONGER

 12                                MR       SULLIVPN          LETS           TAKE        TWO

 13     MINUTE       BREAK

 14                                BRIEF RECESS

 15                                THE       REPORTER       THEN        READ    BACK       THE


 16     REQUESTED          MATERIAL

 17     BY   MR      HOISTAD

 18                        SO    LAST YEAR          1997      DO         UNDERSTAND          THAT


 19     THERE      WAS          CONTINUING         INCREASE        IN    THE    AMOUNT       OF


 20    YOUR      COUGHING         TO THE      POINT       WHERE     BY JULY         IT     GOT    SO


 21    BAD     YOU   FELT       YOU    HAD    TO    GO TO          DOCTOR           IS     THAT


 22    WHAT      YOURE          SAYING

 23                        YEAH

 24                        BECAUSE           HAD    THE    IMPRESSION           YOU      WOKE     UP

 25     SICK ONE MORNING               IN    JULY    AND    WENT        TO    THE   DOCTOR


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                        NO        NO          NO       THE    COUGH JUST          KEPT       GETTING

        PROGRESSIVE          UNTIL       IT    REALLY        GOT    BAD

                        HOW    MANY       YEARS        HAVE    YOU BEEN          COUGHING

                        COUGHING               TUST     COUGHING          ONCE    IN    AWHILE

                        COUGHING         MORE         THAN    ONCE    IN     AWHILE

                        TUST      THE     LAST YEAR           IS    WHEN         REALLY       GOT

        BAD    COUGHING

                        YEARS       OR    YEAR

                        LAST      YEAR         IN     97
 10                     STARTING         ABOUT         WHEN

 11                     BOY          DONT KNOW                BUT             IM TRYING             TO


 12     THINK           DONT        REALLY          KNOW     WHEN         STARTED       COUGHING

 13     REALLY     BAD            COULD        PROBABLY        GO OVER        AND      ASK    THE

 14     WOMEN    AT    THE    STORE            THEYD         PROBABLY        TELL      ME MORE

 15          REALLY    DONT       KNOW        WHEN     IT    WAS           JUST     STARTED


 16     COUGHING            LOT

 17                     OKAY         THIS       WAS          PROBLEM       THAT     WAS

 18     APPARENT       TO    OTHERS      WHO       WORKED      AROUND        YOU AT       THE      DIME


 19     STORE

 20                     YES

                        IND    IT    GOT       CONTINUALLY           WORSE       UNTIL       YOU

 22     FINALLY       GOT    RELIEF WITH             MEDICATION         FROM

 23     DR    WHITEHOUSE

 24                     YES

 25                     IS    THAT      ACCURATE



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                          YES

                          AND        DID    HE     TELL     YOU WHAT          YOUR        PROBLEM         WAS

                          HE     TOLD       ME THE         ONIY       THING       HE    COULD       FIND


       WRONG       WITH       ME WAS        THAT           HAD    ASBESTOSIS

                          AND        DO YOU        STILL        HAVE    HIGH       BLOOD       PRESSURE

                          YEAH             HE    DIDNT          CHECK       THAT             DONT

       THINK        BUT        YEAH              STILL      HAVE       HIGH       BLOOD       PRESSURE

                          DID    HE        TELL     YOU THAT           HE    THOUGHT          YOU    SHOULD


       QUIT    SMOKING

 10                       ID ALREADY                QUIT

 11                       WHEN       HAD        YOU QUIT

 12                            QUIT        THE     DAY          FOUND             THAT         COULDNIT

 13    BREATHE            THE    DAY             COULDNT          BREATHE              THAT    WAS    IT

 14    ALL    THE    ASHTRAYS              ARE     OUT     OF    MY HOUSE               IN    JULY

 15    ABOUT       THE    17TH       OF     JULY

 16                       ARE    YOU        DONE

 17                       YEAH

 18                       OKAY             SO THERE         DID       COME         TIME

19     SPECIFICALLY             JULY        17      THAT        WAS         DAY    THAT       YOU

20     REMEMBER          AS    BEING        THE    WORST          IS    THAT       ACCURATE

21                        WELL              JUST     WOKE        UP AND       COULDNT           BREATHE

22     AND    IT    SCARED       THE        SNOT     OUTOF            ME     BUT       THATS        NOT    THE


23     FIRST       TIME       THAT    HAD        HAPPENED

24                        YOUD        HAD        THAT     HAPPEN        BEFORE

25                        YES


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                         WHEN

                             FEW DAYS           BEFORE       THAT       IT    HAPPENED          TO       ME

        AND      COULDN            BREATHE

                         DID    YOU      GO TO          PHYSICIAN             AT    THAT       TIME

                         THATS        WHEN            WAS    DOCTORING             AND     TAKING         THE


        STUPID    MEDICATION             THAT        THEY    GIVE       ME THINKING                  HAD


        PNEUMONIA         AND      THE    MEDICATION              WASNT           HELPING

                         THAT      WAS    EARLIER           IN    JULY

                         YEAH

 10                      WERE      YOU    SMOKING           THEN

 11                      VERY      LITTLE               COULDNT                    YOU     CANT

 12     COUGH AND        SMOKE LIKE             THAT             TELL       YOU

 13                      YOU WERE

 14                          FLAT     QUIT       THE    ONE DAY                    JUST

 15    SAID      THIS     IS    IT        NO MORE


 16                      ON JULY         17TH

 17                          THINK       IT    WAS                THINK       IT    WAS       THE


 18    17TH       IT     WAS    EITHER         THAT     WEEKOR              THE    NEXT       WEEK        AND


 19       JUST    QUIT          HE    TOOK      ME TO        THE       DOCTOR            WE    WENT


 20    HOME       ALL     THE      ASHTRAYS          WAS     TAKEN          OUT    OF    THE    HOUSE

 21    NO SMOKING            PUT     UP       AND     THAT       WAS    IT         THERES           NO


 22    SMOKING      IN    THE      HOUSE        NO ASHTRAYS                  NOTHING

 23                      WHAT      HAD    GONE ON IN YOUR                    CONVERSATION                WITH


24     THE    DOCTORS        OR IN YOUR MIND                 THAT       CAUSED          YOU    TO    TAKE


25     THIS   DRASTIC          ACTION         WITH     REGARD          TO    THE    ASHTRAYS             AND



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        WHAT            ASSUME          YOU GO TO        DR      COX    FOR


                              YES        IT     IS

                                    HAVE        YOU    HAD    OTHER     KINDS       OF    DISCOMFORT


                              NO         JUST      MY CHEST

                              HOW       IS    THAT       IS    IT    PRETTY        MUCH      THE    SAME


        AS    IT    WAS       WHEN       YOU WERE        FIRST OVER           TO    SEE


        DR     WHITEHOUSE                LAST      SUMMER

                              NO         ITS       GETTING       WORSE

                              IN    WHAT        WAY

 10                                HURT       MORE

 11                           AND       CAN     YOU TELL       ME ANYTHING              ELSE    ABOUT

 12     IT         IS    IT    SOMETHING              THATS      BETTER       IN    THE      EVENING

 13    THAN        IN    THE       MORNING            OR DO    CERTAIN        THINGS         MAKE     IT


 14    WORSE        OR BETTER                   ANYTHING       YOU     CAN TELL          ME
 15                           BENDING           OVER    REALLY       HURTS               CANT       STAND


 16     FOR    VERY       LONG                  MEAN          JUST     CANT        DO        LOT       IT


 17    JUST        HURTS            MY CHEST           HURTS         ACROSS        MY BACK         HURTS

 18    UNDER        MY RIBS             HURT          MY DIAPHRAGM          HURTS

 19                           OKAY            IS   THERE      ANYTHING        THAT       RELIEVES          THE


 20    DISCOMFORT

 21                           IF         AM NOT        SITTING       TOO LONG             IF        LAY

 22    BACK             LOT        OF    TIMES        THAE    WILL     RELIEVE          IT

 23                           LIKE       MA RECLINER CHAIR
 24                           YEAH            ITS        HARD       THING     TO    EXPLAIN

25                            ANY       FOODS      OR MEDICATIONS             OR ANYTHING             THAT



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       YOU CAN ASSOCIATE                 WITH       MAKING          THE    PAIN      BETTER          OR


       WORSE

                        IT    DOESNT           MAKE       THE       PAIN    BETTER             THE


       MEDICATIONS           IM ON BUT               IT    DOES       HELP       MY BREATHING

          HAVE    THREE       OF     THESE                TAKE       TWO    IN    THE      MORNING

       THIS    ONE       CAN       TAKE       WHENEVER               NEED       TO        IT    DOESNT

       MATTER     HOW OFTEN                  TAKE    THIS       ONE             GUESS

                       YOURE            REFERRING          TO YOUR          IXTHALERS


                             TAKE       IT    WHENEVER               NEED       IT        YEAH

10                     HOW     ABOUT          SLEEPING               HOW    DOES       THAT      GO FOR

11     YOU

12                     HEY         ONE NIGHT             THIS       YEAR         HAD      FIVE       HOURS

13     SOLID     SLEEP         THAT          WAS    IT         OTHERWISE          THAN         THAT        TO

14        DONT       SLEEP               DONT        SLEEP                 HAVE      TO    SLEEP          IN


15     MY RECLINER             LOT       BECAUSE                     DONT        KNOW      WHAT       IT


       IS         CANT        LAY ON MY BACK                   IN         BED    BECAUSE         OF       MY

17     BACK           JUST     CANT           DO    IT     BUT       IN MY RECLINER                       CAN


18     PUT    MY FEET        UP YOU KNOW                  AND       THEN         RECLINE             AND


19     SLEEP WITH        MY ARMS RIGHT                   STRAIGHT          DOWN        WHICH


20     SUPPOSE       SOUNDS        SILLY           BUT    IT    GIVES       ME MORE            LENGTH

21     GUESS     YOU COULD          SAY            ROES    THAT       MAKE       SENSE                KNOW


22     THAT    SOUNDS        WEIRD           BUT    IF    IM              SEE     RIGHT         NOW       IM
23     SITTING    NORMAL             OKAY

24                                 MR        SULLIV2AN              WHEN    YOU      SAY       MORE

25     LENGTH        ARE     YOU     TALKING             ABOUT       MORE       LUNG            ITS


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        EASIER      TO     BREATHE


                                     THE    WITNESS             YEAH

                                     IR     STJLLIVN                    OR IT    HELPS        YOUR

        BACK

                                     THE    WITNESS             ITS      EASIER       TO


       BREATHE            ITS        LIKE         NEED     MORE    SPACE             ITS      LIKE


        NEED    STRETCHED                   KNOW        THAT    SOUNDS     SILLY           BUT     HOW

        DO   YOU    DESCRIBE          SOMETHING           LIKE    THAT

        BY   MR     HOISTAD

 10                       HAVE       YOU    BEEN     HAVING       PROBLEMS           BECAUSE        OF


 11    YOUR     BACK      SLEEPING          IN       NORMAL       RECLINED           OR PRONE

 12    POSITION          IN    BED    FOR    MANY YEARS

 13                       NO         ITS     NOT        BECAUSE    OF    MY BACK           THAT

 14    SLEEP       IN    THE    RECLINER             TO    LAY    FLAT                CANT         LAY

 15    FLAT

 16                       AND    YOU       HAVENT         ABLE    TO    DO THAT

 17                       FOR         LOT    OF    YEARS         NO

 18                       LETS        SAY    IN    1985         AFTER    YOU     FOLKS HAD

19     MOVED      BACK        TO LIBBY           WERE     YOU FINDING           IT    WAS          LOT

20     EASIER       FOR YOU          TO    REST    AT     NIGHT    IF    YOU WERE           IN

21     SEMIRECLINED

22                       NO          IN    85       SLEPT        IN MY    BED

23                       WHEN        DID    YOU QUIT           SLEEPING    IN YOUR           BED

24                       THIS        YEAR         LAST     YEAR

25                       IN     1997


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                      1997        EARLY           IN    1997          ABOUT       IN 2PRI1          OR


       MAY OR MARCH          SOMEWHERE                 IN THERE        IS    WHEN         STARTED


       SLEEPING     IN     MY RECLINER

                      PRIOR       TO    THAT           TIME


                           SLEPT       IN     BED        AND          SLEEP    ON MYSIDE


       WHEN    IM IN BED
                     DO YOU        SLEEP           IN    BED     AT    ALL

                           1T OF        TIMES           ISTARTOUT             THERE

       SOMETIMES     IF     IM REALLY               BAD          DONT        EVEN    START          OUT

 10    IN   BED           JUST    TELL        MY DAUGHTER               IF    YOURE           WATCHING

 11    TVAND        GO TO        SLEEP            JUST    TURN        THE    LIGHTS       OFFAND

 12    LEAVE    ME HERE          SO SHE           DOES

13                   YOUR        DAUGHTER

14                   VICKY

15                         VICKY             IS    LIVING        WITH       YOU     AND       HER


16     CHILDREN     ARE     ALL    GROWN                 THINK        YOU    SAID

17                   ALL     GROWN                SHES           GRANDMOTHER

18                   HOW     DO YOU           AND       VICKY SPEND           YOUR       TIME

19                   HOW     DO WE           SPEND             JUST           MOST       OF    THE


20     TIME    IM SITTING          IN MY           RECLINER             SHE       SAID    IM
21     REALLY     GOOD AT        HOLDING           IT    DOWN               HAVE         HARD       TIME


22     SWEEPING     BECAUSE             CANT            TAKE    THE     DUST

23                   HARD        TIME    WHAT

24                   SWEEPING                      RUN    OUT OF        AIR              CANT

25     FIHISH     DOING    THE     DISHES           BECAUSE             RUN OUT          OF    AIR


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        DONT         KNOW        THATS         THE    ONLY        THING           SAY    IS    JUST

        LIKE           RUN OUT         OF    AIR            CANT           BREATHE            WHAT       IS


        REALLY        SILLY      IS          CAN     GO    TAKE            SHOWER        GET       OUT    OF


        THAT    SHOWER          AND    START        COUGHING           AND    BY THE          TIME       IM
        DRESSED             CAN       BARELY        MAKE    IT     BACK      THE    TEN       FEET       TO


        THE    KITCHEN          TO SIT       DOWN

                           OKAY

                           AND    THEN         IF         WANT     TO DO ANYTHING                   IVE

        GOT    TO    SIT    THERE       FOR     ALONG        TIME          BEFORE            CAN    GET       UP

 10     TO    DO ANYTHING             BECAUSE             JTST     DONT       HAVE                  JUST

        CANT

 12                        SO    ITS        YOU AND        YOUR DAUGHTER                AND    YOUR

 13     HUSBAND       AND       YOUR    SON         CLINTON           WHO    LIVE       IN    YOUR

 14     HOUSEHOLD          AT    THE    PRESENT           TIME        IS    THAT    ACCURATE

 15                        AND    VICKYS            HUSBAND

 16                        AND VICKYS               HUSBAND


 17                        BRUCE

                                 BRUCE       WHEN     HES        IN    TOWN

 19                        YEAH         BECAUSE        HE    DOES          WORK         HE WORKS          IN


 20     MOYIE         HE    DRIVES          BACK     AND    FORTH

 21                        AND    CLINTON           HASNT        BEEN       WORING           UNTIL


 22     RECENTLY       WHEN       HE    STARTED        HIS       SIGN       PAINTING          BUSINESS

 23     IS    THAT    TRUE

 24                        UHHUH

 25                        SO HOW       DO YOU        FOLKS TYPICALLY                    YOU       KNOW


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